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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


  JOHN DOE,                             )
                                        )
                 Plaintiff,             )
                                        )
                 v.                     )              Case No. 1:18-cv-3713-TWP-MJD
                                        )
  INDIANA UNIVERSITY,                   )
                                        )
                 Defendant.             )


           DESIGNATION OF EVIDENCE IN SUPPORT OF VERIFIED MOTION
                          PRELIMINARY INJUNCTION

            Plaintiff, John Doe (“John”), by counsel, Designates the Following Evidence in Support

  of his Verified Motion for Preliminary Injunction to enjoin Defendant, Indiana University (the

  “University”), against suspending John for four years:

                                            List of Exhibits

         For the convenience of the Court and the Parties, John Doe provides the following list of

  designated exhibits, with particular designations set forth below.

   Exhibit 1          John Doe Affidavit
   Exhibit 2          John Doe Deposition
   Exhibit 3          Hearing Panel Packet
   Exhibit 4          September 27, 2017 E-mail to John Doe from OSC
   Exhibit 5          Charge Letter to Individual 1
   Exhibit 6          Charge Letter to Individual 2
   Exhibit 7          Hearing Panel Decision
   Exhibit 8          Individual 1’s Acceptance Letter
   Exhibit 9          Individual 2’s Acceptance Letter
   Exhibit 10         Simone Cardosa Deposition
   Exhibit 11         University Training – Substance Use and Sexual Assault
   Exhibit 12         University Training – Communication, Cues, & Sexual Consent
   Exhibit 13         Kurt Zorn Deposition

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   Exhibit 14      Marjorie Treff Deposition
   Exhibit 15      Simone Cardosa Affidavit
   Exhibit 16      University Training – Serving on Sexual Misconduct Hearing Panels
   Exhibit 17      Barry Magee Deposition
   Exhibit 18      Latosha Williams Deposition
   Exhibit 19      Excerpt of Historic Investigative Report Showing Transcript Received
                   from
   Exhibit 20      Jane Doe’s Facebook Photos of September 4, 2017
   Exhibit 21      Libby Spotts Deposition
   Exhibit 22      Witness 6 Affidavit
   Exhibit 23      Affidavit of Sealed Witness
   Exhibit 24      University E-mail Regarding Separate Hearings for John Doe, Individual
                   1, and Individual 2
   Exhibit 25      Excerpt of Historic Investigative Report with 2 Respondents
   Exhibit 26      Marjorie Treff Affidavit
   Exhibit 27      Panel Deliberation Worksheet
   Exhibit 28      Video of Jane Doe at September 4, 2017 Party*
   Exhibit 29      Williams Affidavit
   Exhibit 30      Decision Draft – Treff Comments
   Exhibit 31      Williams’ Notes for Decision
   Exhibit 32      Williams E-mail Regarding Decision Rationale and Timing of Decision
   Exhibit 33      Kurt Zorn Affidavit
   Exhibit 34      Spotts Affidavit
   Exhibit 35      John Doe’s Notice of Appeal
   Exhibit 36      Appeal Decision Letter
   Exhibit 37      Excel Spreadsheets Regarding Historical Data
   Exhibit 38      University’s Sexual Misconduct Policy
   Exhibit 39      Hearing Audio (6 parts)*
   Exhibit 40      Jane Doe’s IUPD Recorded Statement*
   Exhibit 41      John Doe’s Recorded Statement to IUPD*
   Exhibit 42      John Doe’s Recorded Statement to Prosecutor*
   Exhibit 43      Decision Draft – Magee Comments


  *Denotes Exhibits containing video or audio hand-filed on a DVD.




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                                       Particular Designations

         1.      John enrolled at Indiana University in the fall of 2016 and has been enrolled

  continuously as an undergraduate student through the fall, 2018 semester. John has completed six

  semesters at Indiana University because he took a full semester of classes during the summer of

  2018. (Exhibit 1, Doe Affdvt. ¶1).

         2.      John began his studies at the Kelley School of Business as a direct admit in the Fall

  of 2016. (Exhibit 1, Doe Affdvt. ¶2).

         3.      When John began the Fall, 2018 semester, he had senior standing based on the

  number of credits he had completed. (Exhibit 1, Doe Affdvt. ¶3).

         4.      John was working towards a triple major in Supply Chain Management, Business

  Analytics, and Technology Management. (Exhibit 1, Doe Affdvt. ¶4).

         5.      Before enrolling at IU, John spent his summers volunteering at Walcamp Outdoor

  Ministries, where he cared for adults with disabilities and facilitated Bible games and other

  activities. (Exhibit 1, Doe Affdvt. ¶5).

         6.      As an IU student, John continued his community service by volunteering with Cru,

  one of the University’s Christian organizations, to provide relief to victims of Hurricane Harvey

  last year. (Exhibit 1, Doe Affdvt. ¶6).

         7.      At IU, John has a cumulative GPA of 3.779. For the fall of 2018 semester, his GPA

  was 3.964. (Exhibit 1, Doe Affdvt. ¶7).

         8.      John has secured a position as a Business Technology Analyst Summer Scholar at

  Deloitte Consulting for the summer of 2019. (Exhibit 1, Doe Affdvt. ¶8).

         9.      In the afternoon of September 4, 2017, John attended a fraternity party. (Exhibit 1,

  Doe Affdvt. ¶9).



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         10.      At the party, John was hanging out with friends and formally met Jane Doe.

  (Exhibit 1, Doe Affdvt. ¶10).

         11.      At the party, Jane announced, “Who am I going to f*ck today?” (Exhibit 1, Doe

  Affdvt. ¶11).

         12.      Jane began to flirt with John and was touching his shoulder a lot. Specifically, when

  she touched his shoulder, her hand would linger and would slightly rub down his arm. This was

  more physical contact than John is accustomed to receiving from new acquaintances. (Exhibit 1,

  Doe Affdvt. ¶12).

         13.      Jane grabbed John’s hand and began leading him around the party. (Exhibit 1, Doe

  Affdvt. ¶13).

         14.      Eventually, Jane and John were kissing at the party, in an area removed from the

  crowd. John’s back was against a wall. This was not as Jane has described as John pursuing a

  kiss and her turning her head away. (Exhibit 1, Doe Affdvt. ¶14).

         15.      At that point, John and Jane discussed going somewhere more private. John

  suggested going to his apartment or going to his fraternity house. Jane stated that she wanted to go

  to the fraternity, but first, she wanted to change her pants. (Exhibit 1, Doe Affdvt. ¶15).

         16.      John did not witness Jane consuming any alcohol during the party. John assumed

  she had consumed alcohol because we were at a party, but John did not believe that she was drunk

  to the point of incapacitation. (Exhibit 1, Doe Affdvt. ¶16; Exhibit 2, Doe Dep. 114:17-116:3.)

         17.      Jane and John left the party together, first stopping at Jane’s sorority house and then

  going to the fraternity house. John was a member of a fraternity, but did not live in the fraternity

  house. (Exhibit 1, Doe Affdvt. ¶17).

         18.      When Jane and John arrived at her sorority house, Jane was holding his hand and



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  invited him into the house. John went up the stairs and stood outside of Jane’s room while she was

  changing her pants. Then, Jane invited John into her room and the kissed more. (Exhibit 1, Doe

  Affdvt. ¶18).

          19.     When they got to John’s fraternity house, they entered John’s friend’s room.

  Specifically, they entered a private room that was used as a living room, not a sleeping room.

  (Exhibit 1, Doe Affdvt. ¶19).

          20.     Once Jane and John were in the room, they began kissing. They themselves

  ourselves. John does not dispute Jane’s statement that she helped him undress. (Exhibit 1, Doe

  Affdvt. ¶20.)

          21.     John asked Jane whether she consented to him touching her breast and digitally

  penetrating her vagina, and she said yes. (Exhibit 1, Doe Affdvt. ¶21).

          22.     John asked Jane whether she wanted to have sexual intercourse, and she said yes.

  (Exhibit 1, Doe Affdvt. ¶22).

          23.     John and Jane began having sexual intercourse. First, they were positioned so that

  Jane was lying on her back and John was on top of her. This position was uncomfortable, and

  John asked Jane if she wanted switch positions so that she would be on her hands and knees and

  John would be behind her. (Exhibit 1, Doe Affdvt. ¶23).

          24.     Jane made a comment in the affirmative, rolled herself over, and propped herself

  up on her hands and knees. John entered her vagina with my penis and she moaned in a way that

  John understood to indicate pleasure. (Exhibit 1, Doe Affdvt. ¶24).

          25.     Jane moved her body with John as intercourse continued. (Exhibit 1, Doe Affdvt.

  ¶25).

          26.     While John’s back was to the door, he heard someone come into the room, say, “oh,



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  sorry,” and leave. John did not get a good look at the person, and at the time he thought that the

  individual was someone different than the person who later confirmed that he had entered the

  room. (Exhibit 1, Doe Affdvt. ¶26).

          27.    Later, other people entered the room. John was embarrassed to be caught in this

  intimate moment where people were laughing at me and he froze. He tried to laugh it off. He

  greeted the intruders with a smile and a “peace sign” hand gesture and told them to get out. Within

  seconds, they left the room. (Exhibit 1, Doe Affdvt. ¶27).

          28.    After these interruptions, John suggested to Jane that they should stop having sex.

  They each dressed themselves. (Exhibit 1, Doe Affdvt. ¶28).

          29.    While she was pulling up her pants, Jane said, “I only did this to get back at my ex-

  boyfriend.” That made John feel used, and he was at a loss for words. He eventually stammered,

  “okay.” (Exhibit 1, Doe Affdvt. ¶29).

          30.    John asked Jane, “do you want me to walk you home?” Jane said “okay,” and he

  walked her home. (Exhibit 1, Doe Affdvt. ¶30).

          31.    After leaving Jane at her sorority house, John learned that someone who had burst

  into the room while he and Jane were intimate had taken a photo of them. (Exhibit 1, Doe Affdvt.

  ¶31).

          32.    John learned that the individual who took the photo posted it on SnapChat. Then,

  someone who saw the photo on SnapChat captured a screen shot of the photo and circulated it to

  a group of fraternity brothers via a GroupMe chat. John was not a member of the GroupMe chat

  group and thus it was not circulated to him at that time. (Exhibit 1, Doe Affdvt. ¶32).

          33.    John was embarrassed to have been photographed having sexual intercourse and

  worried that Jane would also be embarrassed. (Exhibit 1, Doe Affdvt. ¶33).



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         34.     John immediately demanded to the fraternity president that the photograph be

  removed from the GroupMe posting. The photo was already removed by the time he reached the

  fraternity president to make this demand. (Exhibit 1, Doe Affdvt. ¶34).

         35.     John also texted Jane asking how she was doing and that he thought they “should

  talk about what just happened.” (Exhibit 1, Doe Affdvt. ¶8; Exhibit 3 [Dep. Ex. 59], IU0001252-

  53.)

         36.     By “what just happened,” John was referring to the photo that he had just learned

  was taken of them. (Exhibit 1, Doe Affdvt. ¶36).

         37.     Jane replied that she was fine, texted “#yolo” (which John understood to mean,

  “you only live once”), and stated “Idgaf” (which John understood to mean, “I don’t give a f*ck)

  about the photo because she was not visible in the it, and expressed that “[i]t is just life.” (Exhibit

  1, Doe Affdvt. ¶37; Exhibit 3 [Dep. Ex. 59], IU0001252-53.)

         38.     The University’s Office of Student Conduct (“OSC”) apparently learned that the

  photo had been posted in a GroupMe chat and investigated the students who had taken the photo

  and reposted it (the “Photo Investigations”) (Exhibit 1, Doe Affdvt. ¶38).

         39.     OSC emailed John on September 27, 2017, stating that the University had

  information that he “may have experienced sexual misconduct” and explaining that it might

  proceed with a formal investigation. (Exhibit 1, Doe Affdvt. ¶39; Exhibit 4 [Dkt. 1-2].)

         40.     On September 29, 2017, as a part of the Photo Investigations, an OSC Assistant

  Director and an Investigator interviewed John regarding the photo, and he gave an oral statement.

  (Exhibit 1, Doe Affdvt. ¶40; Exhibit 3 [Dep. Ex. 59], IU0001193.)

         41.     John’s understanding was that the purpose of the meeting was to talk about the

  photo. (Exhibit 1, Doe Affdvt. ¶41.)



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         42.     John was instructed by his fraternity president to downplay his concerns about the

  photo. (Exhibit 2, Doe Dep. 12:1-10, 25:6-13; 112:19-25.)

         43.     John told Cardosa he was not bothered by the photo. (Exhibit 2, Doe Dep. 12:13-

  15.)

         44.     John did not disclose Jane’s name during the meeting in order to protect her privacy.

  (Exhibit 39, Hearing Audio, IU0000036, 1:44:19-1:44:41.)

         45.     John had no reason to elaborate on my communications with Jane regarding consent

  during this meeting because that was not what the meeting was about. John does not recall that

  anyone asked him about those communications. (Exhibit 1, Doe Affdvt. ¶42.)

         46.     The Photo Investigations included allegations that Individuals 1 and 2 took and/or

  disseminated the photo “without [John’s or Jane’s] consent.” This allegation is accurate with

  respect to John. (Exhibit 1, Doe Affdvt. ¶43; Exhibit 5 [Dep. Ex. 45], IU0000207-208; Exhibit 6

  [Dep. Ex. 41], IU0000197-98.)

         47.     John was never informed that my September 29, 2017, verbal statement given as a

  Complainant could later be used against him as a Respondent for “allow[ing] another individual”

  to take the photo or for more serious charges. (Exhibit 1, Doe Affdvt. ¶44; Exhibit 7 [Dkt.1-6].)

         48.     Had John been provided this information, he would have consulted an advisor and

  would have provided more information about consent and the entirety of the circumstances.

  (Exhibit 1, Doe Affdvt. ¶45).)

         49.     At the end of his meeting with the OSC investigators, they asked John to clarify a

  few points. John was not provided with a copy of the investigator’s notes of the meeting or

  otherwise allowed to read and confirm the accuracy of the notes. (Exhibit 1, Doe Affdvt. ¶46.)

         50.     Individuals 1 and 2 have accepted responsibility and been sanctioned for taking



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  and/or disseminating the photo without my or Jane’s consent. Individual 1 accepted responsibility

  on November 1, 2018, and Individual 2 accepted responsibility on November 8, 2018. (Exhibit 8

  [Dep. Ex. 51], IU0000514-16; Exhibit 9, IU000506-508.)

         51.     On May 25, 2018, Jane, with her parents present, made a report to OSC alleging

  that John had raped her on September 4, 2017. (Exhibit 3 [Dep. Ex. 59], IU0001223.)

         52.     Jane then gave a statement to University Police Department Officer Garth

  VenLeewuen. (Exhibit 3[Dep. Ex. 59], IU0001264-65.)

         53.     Jane’s statement alleged that she was so intoxicated on September 4, 2017, that she

  lacked capacity to consent. (Exhibit 3[Dep. Ex. 59], IU0001264-65.)

         54.     Jane provided Officer VanLeeuwen with a written timeline of her day, but that

  timeline was not given to OSC along with the recording of Jane’s interview. (Exhibit 40, Jane

  Doe’s Recorded Statement to IUPD, 2:33:50; Exhibit 10, Cardosa Dep. 35:1-16.).

         55.     On June 1, 2018, John received a call from Garth VanLeeuwen, an officer with the

  Indiana University Police Department (“IUPD”), stating that his name came up in connection with

  a case he was investigating and that he needed to talk to John. (Exhibit 1, Doe Affdvt. ¶48; Exhibit

  3[Dep. Ex. 59], IU0001266-67.)

         56.     John was in class when he received Officer VanLeeuwen’s call, so it went to

  voicemail. (Exhibit 1, Doe Affdvt. ¶49.)

         57.     During the class John read the auto-transcription of the voicemail on his phone. He

  immediately ran out of class and returned Officer VanLeeuwen’s call. John told him he could

  meet right away and walked directly to the IUPD station. (Exhibit 1, Doe Affdvt. ¶50.)

         58.     John met with IUPD that day and was interviewed for over an hour. John answered,

  to the best of his ability, all the questions that Officer VanLeeuwen asked of him. However, nearly



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   nine months had passed since September 4, 2017, and he had not thought about that day much

   since the previous fall. Thus, his memory of the day’s events were not fresh. (Exhibit 1, Doe

   Affdvt. ¶51-52; Exhibit 3 [Dep. Ex. 59], IU 0001266-67; Exhibit 41, John Doe’s Recorded

   Statement to IUPD.)

           59.    At the end of that meeting, IUPD informed John that he was under investigation for

   rape. (Exhibit 1, Doe Affdvt. ¶52.)

           60.    John was never provided a recording of that statement until it was produced with

   IU’s discovery responses in this litigation. (Exhibit 1, Doe Affdvt. ¶53.)

           61.    On June 6, 2018, the University notified John of Jane’s allegations and that he was

   required to attend a meeting on June 8, 2018, with the OSC investigators. (Exhibit 1, Doe Affdvt.

   ¶54.)

           62.    The University’s Sexual Misconduct Policy requires investigators to have

   appropriate training to conduct sexual assault investigations. (Exhibit 38 [Dkt. 1-12], p.9.)

           63.    Other than Jane, who voluntarily contacted IUPD, all female witnesses were

   interviewed only by OSC staff and all male witnesses were interviewed by IUPD officers.

   (Exhibit 3 [Dep. Ex. 59], IU0001268, IU0001239-40, IU0001243, IU0001246, IU00047.)

           64.    At the June 8, 2018, meeting, John gave another statement. Again, he answered, to

   the best of his abilities, all questions posed by the investigator. John had thought about the events

   of September 4, 2017, almost non-stop since his meeting with Officer VanLeeuwen and was able

   to recall more details than on June 1, 2018. (Exhibit 1, Doe Affdvt. ¶55; Exhibit 3 [Dep. Ex. 59],

   IU0001195.)

           65.    At the end of his meeting with the OSC investigators, they asked him to clarify a

   few points. John was not provided with a copy of the investigator’s notes of the meeting or



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   otherwise permitted to review and confirm the accuracy of the notes. (Exhibit 1, Doe Affdvt. ¶56.)

          66.       John also disclosed to OSC Investigator Cardosa the names of two women with

   whom he had previously had intercourse who could testify that he habitually sought verbal consent

   during sexual activity with a new partner. (Exhibit 1, Doe Affdvt. ¶57; Exhibit 2, Doe Dep.

   116:11-117:2, 120:17-24.)

          67.       John continued to think about the events of September 4, 2017, constantly, and then

   on July 13, 2018, John gave a statement to the Monroe County Prosecutor’s Office, which the

   prosecutor sent to OSC on August 17, 2018. Again, John answered, to the best of his ability, all

   questions asked by the deputy prosecutor. (Exhibit 1, Doe Affdvt. ¶58.)

          68.       John has consistently maintained that all contact with Jane was consensual and that

   he never consented to the photo being taken and disseminated. (Exhibit 1, Doe Affdvt. ¶59.)

          69.       The prosecutor did not press charges against John. (Exhibit 1, Doe Affdvt. ¶60.)

          70.       University employees and panel members are trained that men over-interpret

   women’s sexual interest and that women are more likely to be the victims of sexual assault.

   (Exhibit 11, [Dep. Ex. 9] IU00000854; Exhibit 12, [Dep. Ex. 17] IU00000875; Exhibit 13, Zorn

   Dep. 38:3-24.)

          71.       The Lead Investigator in John’s case, Simone Cardosa, is a lawyer and has ample

   training in sexual assault matters. (Exhibit 15, Cardosa Affdvt ¶2.)

          72.       Cardosa was charged with investigating the claim made by Jane Doe and making

   the decision whether to charge John with a conduct violation. (Exhibit 15, Cardosa Affdvt. ¶5;

   Exhibit 16 [Dep. Ex. 7, IU0000726]; Exhibit 17, Cardosa Dep. 30:20-31:18.)

          73.       The University defines relevant information as “anything that makes it more or less

   likely that something occurred.” (Exhibit 17, Cardosa Dep. 15:6–8.)



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          74.     The investigators interview witnesses as a team, with one asking questions and

   another typing a summary of the witness’s statement. (Exhibit 17, Cardosa Dep. 23:24-24:9.)

          75.     The University’s “review” of statements with the witnesses consists of the

   investigator orally reviewing the Investigator’s shorthand notes and asking if it is correct. (Exhibit

   17, Cardosa Dep., 25:20–26:3.)

          76.     Elizabeth Spotts, Cardosa’s supervisor, did not review the final report. (Exhibit

   21, Spotts Dep. 49:12-22.)

          77.     The Panel relied on what the investigation team include in the Final Investigation

   Report. (Exhibit 17, Magee Dep. 38:1–7 (stating that the Panel does not always determine whether

   is something is relevant to the decision-making process because it has already been determined for

   them); Exhibit 18, Williams Dep. 49:15–21, 50:5-7 (stating that the Panel was trained to depend

   on the framing that was provided in Final Investigation Report and to ask questions based on the

   Report).)

          78.     The Final Investigation Report did not include summaries of non-party witness

   statements made to IUPD and omitted Witness 3’s statement to IUPD that Jane seemed coherent

   because she turned her face away from him when he entered the room. (Exhibit 3 [Dep. Ex. 59],

   IU0001188-1221, IU0001268.)

          79.     The panel did not watch or hear any recorded interviews taken by IUPD of the

   complainant or respondent. (Exhibit 18, Williams Dep. 14:17-24; Exhibit 17, Magee Dep. 28:8-

   12.)

          80.     Cardosa did not watch the live videos of John’s and Jane’s respective statements to

   the IUPD. (Exhibit 17, Cardosa Dep., 36:4-9; 75:8-10.)

          81.     Cardosa could have asked for a transcript IUPD’s recorded interviews. (Exhibit



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   19, IU0001498 (Final Investigation Report for another case stating that OSC “obtained” a

   transcript of the police report that the Complainant filed from the Bloomington Police

   Department).)

          82.      Cardosa was unaware that Jane produced a written timeline and it was not included

   in the OSC file. (Exhibit 17, Cardosa Dep. 35:8–16).

          83.      Cardosa relied on John and Jane to develop evidence for her investigation. The

   University’s investigation team examined only the evidence that is submitted or suggested to them.

   (Exhibit 17, Cardosa Dep. 17:13-18:21.)

          84.      Jane alleged that her incapacitation was obvious because she had worn her clothes

   into a pool that was at the party, while others were in swimsuits. (Exhibit 39, Hearing Audio

   24:30-25:30, 1:05-1:05:37.)

          85.      Photos Jane posted of the party on Facebook on September 5, 2018, demonstrated

   that Jane’s friends were all in street clothes and not swim attire. (Exhibit 20.)

          86.      John located the Facebook photos, but did not submit them to the University

   because he located them after the ten day window in which he was allowed to submit evidence.

   (Exhibit 1, Doe Affdvt. ¶63).

          87.      The University did not look at Jane’s public Facebook account because no one

   mentioned it.1 (Exhibit 17, Cardosa Dep. 19:5-15.; Exhibit 21, Spotts Dep. 17:12–20)

          88.      Cardosa can ask follow-up questions to clarify inconsistencies between a party’s or

   witness’s statements during the investigation. (Exhibit 17, Cardosa Dep. 44:7–8.)

          89.      She also “sometimes” asks for clarification regarding inconsistencies between one

   witness’s statements and another’s, apparently if she deems it relevant. (Id. 44:10–16.)




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          90.       Similarly, if witnesses’ IUPD statement conflicts with their OSC statement(s),

   Cardosa can ask about the difference and/or ask follow-up questions. (Id. 79:15–25.)

          91.       Cardosa did not ask John to explain why he previously stated that he did not have

   anything to drink, whereas in subsequent statements he stated that he did—even though John had

   reasons that had nothing to do with the Incident for his inconsistencies. (Exhibit 2, John Doe Dep.

   14:24–15:8 (explaining that he did not tell the truth about drinking because he was underage and

   wanted to protect the fraternity).)

          92.       In his IUPD statement, Witness 6 stated that the party was at a particular fraternity.

   But in his OSC statement, he stated he could not remember where the party was located. (Exhibit

   3, IU0001206 & IU0001268.)

          93.       Cardosa did not raise this discrepancy during her meeting with Witness 6 because

   she did not consider the discrepancy relevant, (Exhibit 17, Cardosa Dep. 80:6–81:12), and she

   only puts in the Final Investigation Report information that she deems relevant, (id. 26:4–18).

          94.       Cardosa reasoned that “it’s not uncommon for students to not want to tell us what

   fraternity they were at or sorority in case that they don’t want to get the organization in trouble.”2

   (Id. 81:3–12.)

          95.       Witness 6 testified that he did not want to get his fraternity into trouble. (Exhibit

   22, Witness 6 Aff. ¶ 19.)

          96.       The Hearing Panel found this discrepancy relevant, as it asked Witness 6 about the

   discrepancy during the Hearing. (Exhibit 39, Hearing Audio, IU00000036, 26:44–27:38.)

          97.       The University only enforced its prohibition against using evidence of either party’s

   prior sexual history against John. The University did not call John’s past sexual partners after John




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   so requested because “past sexual relationships are not considered relevant in our investigation,”

   (Exhibit 17, Cardosa Dep. 58:1–5), and information about the parties’ prior sexual history is not

   included in the Final Investigation Report unless it was prior sexual history between the parties

   (id. 44:22–23.) (See also Exhibit 14, Treff Dep. 25:25–26:10 (stating that the panelists are taught

   that it is inappropriate to ask about the prior sexual history of either party “because it could

   potentially bias the case” because “someone [could] make a judgment in the present case based on

   prior sexual history” and “there’s really no relevance”).)

          98.     Had the University contacted John’s proposed witness, she would have testified

   that John asked her for consent every step of the way during their sexual encounter. (Exhibit 23,

   Sealed Witness Affdvt. ¶ 12.)

          99.     Cardosa intentionally included multiple statements regarding Jane’s virginity

   before September 4, 2017, in the Final Investigation Report. (Exhibit 3, IU0001190

   (“Complainant stated that she was a virgin and did not plan to lose her virginity to Respondent on

   a couch.”); IU0001207 (“Witness 7 stated that, she thinks, Complainant was a virgin before her

   experience with Respondent”); IU0001208(“Witness 8 stated that she knew that Complainant

   hadn’t had sex before”).)

          100.    Cardosa’s reasoning for why Complainant’s repeated references to her virginity

   were relevant and permissible was because “virgin[ity] is more of an identity” rather than an “act”

   and that “the act of this identity that I hold, kind of goes to my state of mind . . . .” (Exhibit 17,

   Cardosa Dep. 58:19–22).

          101.    Jane was also permitted to testify about her prior sexual history during the Hearing,

   including her first kiss; that she is awkward around men; how a guy ended things with her because

   she did not want to have sex with him; that she never consented to sex before; and that she never



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   thought her first time would have been like this. (Exhibit 39, Hearing Audio, IU00000033, 14:38–

   14:54, 15:56–16:03, 16:34–37.)

          102.    Kurt Zorn, the appellate officer in John’s case, confirmed that the panel can ask

   about prior sexual history if it is “germane” or “material” and uses his “common sense” to make

   that determination. (Exhibit 13, Zorn Dep. 20:11-20.)

          103.    The summary of John’s September 27, 2017 statement to IUPD in the Final

   Investigation Report segment of the hearing packet did not indicate that John provided that

   statement as Complainant, and thus had no reason to elaborate on affirmative consent for the sexual

   act. (Exhibit 3 [Dep. Ex. 59], IU0001193 (omitting the context of John’s position as a

   complainant) & IU0001229 (“The following information was provided in the event that [John]

   wanted to make a report in regards to his picture being taken without his consent” and explaining

   that John was provided with the Complainant Information Form, among other documents).)

          104.    Additionally, Cardosa’s omission of information regarding the Photo Investigations

   deprived the Panel the opportunity to consider Individual 1’s motivations in providing his

   statement (i.e., his incentive to testify that John consented to the photo), even though the Panel is

   trained to consider motivation. (Exhibit 17, Cardosa Dep. 76:8–11.)

          105.    Cardosa suggested that the panel could explore the witness’s motivations by asking

   him for his motivation. (Exhibit 17, Cardosa Dep. 77:1–78:11.)

          106.    The University ultimately found John responsible for “allowing another

   individual to photograph or take a video of [him] engaging in sexual intercourse with Jane

   without her consent.” (Exhibit 7 [Dkt. 1-6], Panel Decision (emphasis added).)

          107.    After he was charged with allowing the photograph to be taken, the University

   charged Individual 1 and Individual 2 with taking and/or disseminating the photograph involving



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   John and Jane “without either individual’s consent.” (Exhibit 5 [Dep. Ex. 45], IU0000207 &

   Exhibit 6 [Dep. Ex. 41], IU0000197.)

          108.    The University states that John’s, Individual 1’s, and Individual 2’s cases were all

   separate and were “completely different files,” and that there had not been findings made when

   the charges were placed. (Exhibit 21, Spotts Dep. 62:24–64:15; Exhibit 17, Cardosa Dep. 72:7–

   11 (“There are two different cases. There are two different investigations.”).)

          109.    The University included John’s September 29, 2017, statement taken for the Photo

   Investigations to his own investigation file. (Exhibit 3 [Dep. Ex. 59], IU0001193.)

          110.    The University admitted that the cases are related. (Exhibit 21, Spotts Dep. 67:4–

   8 (explaining that Magee could not have served on the panel in John’s case and in Individual 1’s

   case because “[t]hey were related cases and he already found a party who was a Complainant in

   that case responsible in the other case.”).)

          111.    The University has the discretion pursue multiple respondents in a single

   proceeding, and contemplated doing so in this case. (Exhibit 24, Email from Cardosa to Spotts,

   IU0000263 (“I talked to Emily and Sally and they think separate hearings are best. I can connect

   with you about the other two cases that involve these parties, but this is the one we would like to

   be heard first.”); Exhibit 25, IU00001483 (other sexual misconduct case involving two

   Respondents in a single Final Investigation Report).)

          112.    The panel chair determines the relevance of information presented during the

   hearing. (Exhibit 16, [Dep. Ex. 7], IU 00000738.)

          113.    The panel chair prevented one of John’s witnesses from providing additional

   information during the hearing on the basis that it was not relevant, but admitted that she did not

   know what the witness intended to say. (Exhibit 18, Williams Dep. 83:8-15; Exhibit 39, Hearing



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   Audio, IU00000036, 1:44–2:50, 15:42–17:26.)

          114.   The chair would have been permitted to take a break and privately ask the witness

   what he intended to say. (Exhibit 21, Spotts Dep. 45:19-22.)

          115.   The panel chair determined that the witness’s information was not relevant because

   comments made by a complainant about the incident months to someone other than an investigator

   lose relevance. (Exhibit 18, Williams Dep. 58:2-5.)

          116.   The panel chair can share information about other cases and has knowledge of other

   cases. (Exhibit 17, Magee Dep.14:6-9.)

          117.   The panelists, other than the panel chair, were not aware of the photo investigations

   at the time of the hearing. (Exhibit 14, Treff Dep. 39:12-18; Exhibit 17, Magee Dep. 56:20-

   57:20; Exhibit 18, Williams Dep. 83:16-84:23.)

          118.   The panelists are trained to evaluate a witness’s motivation in giving a statement.

   (Exhibit 17, Magee Dep. 30:25-31:3.)

          119.   The panelists did not consider Individual 1’s motivation for his statement because

   they were not aware of his status as a respondent in another investigation. (Exhibit 18, Williams

   Dep. 99:10-14.)

          120.   The panelists did not discuss John’s motivations for giving inconsistent statements

   about drinking. (Exhibit 17, Magee Dep. 34:2-18.)

          121.   The panel acknowledges that college students may like about drinking, especially

   when underage. (Exhibit 14, Treff Dep. 50:8-12; Exhibit 18, Williams Dep. 89:11-90:6.)

          122.   The panel was demonstrably hostile to male witnesses and demonstrably supportive

   of female witnesses. (Exhibit 39, Hearing Audio, IU00000036, 42:02–43:15 (questioning John

   on his perception that John was being suggestive and flirtatious); IU00000036, 45:04-46:16



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   (Williams asks John, “so to clarify, very forward, very suggestive behavior on the part of the

   Complainant, and your response is nothing?”); IU00000034, 1:06:06–1:06:20 (Individual 1 tells

   Williams, “Nice to meet you” and Williams curtly responds, “okay.”); IU00000035, 8:30–15:42

   (repeatedly asking male student to rehash what he remembers); IU00000036, 32:52–34:07

   (Witness 6 telling the Panel that John seemed “very bothered by the photo” and Magee attempting

   to dismiss this); IU00000036, 1:08:38–1:10:56 (Williams questioning why John would text Jane

   asking if she was okay instead of communicating with Individual 1); IU00000033, 34:02–34:18

   (Jane asked whether she could talk to the Panel about how she was “processing” her “thoughts,

   feelings” when texting John);, IU00000034, 20:35–23:07 (asking female student about witnessing

   Jane crying after the incident); IU00000034, 32:46–33:19 (Treff introducing herself to female

   student); IU00000034, 1:06:49-1:07:08 (Treff introducing herself to Individual 1.)

          123.    The panelists asked John and other witnesses to explain in detail whether the door

   was locked, and why or why not. (Exhibit 39, Hearing Audio, IU0000036, 1:17:11-1:18:04,

   1:21:17-1:22:37.)

          124.    Witness 3 testified that the lock was not working. (Exhibit 39, Hearing Audio,

   IU0000036, 14:22-15:19.)

          125.    The panelists relied on Jane’s testimony that she was crying after the sexual

   encounter but did not ask why she was crying.        (Exhibit 14, Treff Dep. 62:16-25 Exhibit 26,

   Treff Affdvt. ¶10(g); Magee Dep. 48:8-49:7.)

          126.    The panelists did not ask Jane to explain her inconsistent testimony that she

   remembered crying in light of her other testimony that she did not remember crying. (Exhibit 39,

   Hearing Audio, IU00000033, 57:37–58:08 (Jane stating saying she did not remember crying and

   her friends just told her), 1:01:49–1:02:20 (stating that she remembers sobbing).)



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             127.   When Jane testified that she did not get on top of John during sex because she did

   not want to, the panelists did not ask her to explain why this testimony conflicted with her other

   testimony that she lacked control. (Exhibit 39, Hearing Audio, IU00000033, 37:19-38:12, 39:30–

   40:00.)

             128.   When panelist Magee asked Jane to clarify whether she was on her hands or elbows

   during intercourse, she responded that she had her face down, but does not answer the question.

   The panel members did not press for clarification. (Exhibit 39, Hearing Audio, IU00000033,

   40:33–41:14.)

             129.   Witness 6 did not testify during the hearing where the fraternity party was on

   September 4, 2017, but that information was available from his prior statements. (Exhibit 22,

   Witness 6 Affdvt. ¶17-20; Exhibit 3 [Dep. Ex. 59], IU0001268.)

             130.   The panelists asked follow up questions of Witness 6 regarding why he could not

   recall the location of the party. (Exhibit 39, Hearing Audio, IU0000036, 26:43-27:37.)

             131.   The panelists are trained to confront and challenge respondent’s statements but

   trained to be supportive of the complainant’s testimony. (Exhibit 16 [Dep. Ex. 7]; IU0000748,

   750; Exhibit 14, Treff Dep. 25:2-18 (admitting no training as to confronting or challenging the

   complainant’s statements); Exhibit 13, Zorn Dep.19:14-20).)

      132.          The panelists are trained to ask questions that are not “covered adequately in the

   investigation. (Exhibit 14, Treff Dep. 13:6-9.)

      133.          The panelists make credibility determinations by looking for inconsistencies in

   witness statements. (Exhibit 17, Magee Dep. 30:2-10; Exhibit 14, Treff Dep. 17:12-18:24;

   Exhibit 18, Williams Dep. 78:7-14.)

      134.          Most witnesses did not give live, in-person testimony at the hearing. (Exhibit 1,



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   Doe Affdvt., ¶¶73-76; Exhibit 39, Hearing Audio, passim; but see Exhibit 14, Treff Dep.61:4.)

          135.    Sometimes the panelists asked witnesses to explain the same information already

   covered in the witness statements. (Exhibit 39, Hearing Audio, IU00000036, 6:20–6:52 (Witness

   14 reiterating what he had stated before).)

          136.    In other instances, panel members would not ask any additional questions. (Exhibit

   26, Treff Affdvt. ¶7.)

          137.    Witnesses were asked whether they had anything to add to their statements, but the

   panel members did not know if the witnesses had their statements in front of them when answering

   this question. (Exhibit 18, Williams Dep. 80:17-81:7.)

          138.    John was permitted to submit questions for Jane Doe to the panel, which were

   reframed by the panel. (Exhibit 2, Doe Dep. 76:5-18; Exhibit 18, Williams Dep. 101:7-103:19.)

          139.    The panel completes a worksheet during their deliberation meeting based on their

   notes of the hearing and the documents in the hearing packet. (Exhibit 27 [Dep. Ex. 35],

   IU000001-8; Exhibit 18, Williams Dep. 13:3-16.)

          140.    The panelists watched a video clip of Jane at the party in their deliberation process,

   and apparently concluded that her swaying to music was dancing “wildly.” (Exhibit 28, party

   video; Exhibit 17, Magee Dep. 41:16-42:9.)

          141.    The panel did not replay the hearing audio during their deliberation process.

   (Exhibit 18, Williams Dep. 13: 20-24.)

          142.    The University’s policy requires a three-part consent analysis focused on capacity,

   consent, and force. (Exhibit 18, Williams Dep. 53:21-54:3; Exhibit 38 [Dkt. 1-12], Sexual

   Misconduct Policy.)

          143.    The incapacitation analysis has two prongs: whether someone is so drunk that he



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   or she may not understand facts, nature, extent or implications of what was going on and whether

   the person initiating the sexual activity know or should have known that the other person is

   incapacitated. (Exhibit 18, Williams Dep. 55:1-23.)

          144.    A respondent cannot be liable for violating the policy if he did not know and should

   not have known that the complainant was incapacitated. (Exhibit 16 [Dep. Ex. 7], IU0000718;

   Exhibit 38 [Dkt. 1-12], Sexual Misconduct Policy, p.3.)

          145.    Despite being trained that a respondent must know or “should have known” of the

   other person’s incapacitation, the panelists were trained that “[i]f a person is incapacitated, there

   can be NO consent, no matter what the person says or does.”             (Exhibit 16 [Dep. Ex. 7],

   IU0000719.)

          146.     The consent analysis addresses whether there was “affirmative, voluntary words

   or actions that are mutually understandable to all parties involved, to engage in a specific sexual

   act at a specific time.” (Exhibit 16 [Dep. Ex. 7], IU0000717.)

          147.    There was no allegation of force in this case. (Exhibit 7 [Dkt. 1-6, Dep. Ex. 73],

   Hearing Panel Decision.)

          148.    The panel concluded that Jane was incapacitated but that John “did not know or

   reasonably should not have known that Complainant was incapacitated.” (Exhibit 7 [Dkt. 1-6,

   Dep. Ex. 73], Hearing Panel Decision; Exhibit 18, Williams Dep. 103:20-104:20.)

          149.    The panelists do not understand the University’s policy that affirmative consent

   may be non-verbal. (Exhibit 18, Williams Dep. 53, 93:23-94:3 (“So the discussion around the

   little to no communication was concerning our evaluation of consent. And in particular, if there

   were affirmative voluntary words that were exchanged.”); Exhibit 14, Treff Dep. 14:14; 50:6-12;

   11:1-6 (“consent has to be verbal and active”).)



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          150.     The panel did not review the audio recording of the hearing to confirm testimony.

   (Exhibit 18, Williams Dep. 13:17-25; Exhibit 17, Magee Dep. 27:11-15.)

          151.     The panel found that John’s statements were inconsistent in that he indicated

   affirmative consent to all sexual activities and very little conversation. (Exhibit 14, Treff Dep.

   53:16-19 (consent every step requires quite a bit of conversation); Exhibit 18, Williams Dep.

   93:23-95:13.)

          152.     The panel did not ask John to clarify what he meant by “every step of the way,” or

   to recount exactly what was said. (Exhibit 14, Treff Dep. 51, 54:7-9).

          153.     The panelists relied on incapacitation factors to conclude that Jane did not give

   affirmative consent to sexual activity. (Exhibit 27 [Dep. Ex. 35], IU0000001-2; Exhibit 29,

   Williams Affdvt. ¶15(j); Exhibit 26, Treff Affdvt. ¶10(j) (“I do not believe Jane Doe was in a

   physical or mental state that would have allowed her to communicate effectively during their

   sexual encounter.”).)

          154.     The panel considered Jane’s testimony that she did not know what was going on in

   support of the incapacitation and the consent analysis. (Exhibit 18, Williams Dep. 103:20-

   104:20.)

          155.     The panel’s decision letter indicates that the testimony as to Jane’s body being

   “pretty still” with “no decisive movements” contributed to the panel’s determination that consent

   was not communicated through voluntary actions. (Exhibit 7, [Dkt. 1-6, Dep. Ex. 73], p.3.)

              a. Magee testified that the panelists relied on evidence that Jane was still during the

                   moments in which other students entered the room as an indication of “her capacity

                   to continue with what was going on.” (Exhibit 17, Magee Dep. 55:5-56:10.)

              b. Magee also concluded that Jane’s lack of reaction to people entering the room



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                   indicated lack of consent. (Id. 22:11-23:10.)

              c. Treff’s post-hearing commentary to the other panelists acknowledged that lack of

                   body movement is relevant to incapacitation, not consent.             (Exhibit 30,

                   IU0001854.)

              d. The University trained the panelists that a complainant feeling frozen is a typical

                   response when sex is nonconsensual. (Exhibit 14, Treff Dep. 62:13-15.)

          156.     The deliberation worksheet does not include the testimony that Jane led John

   around during the party, despite Treff’s acknowledgement that it was a credible statement.

   (Exhibit 3 [Dep. Ex. 35]; Exhibit 14, Treff Dep. 46:25.)

          157.     The deliberation worksheet does not include reference to John’s statement that he

   and Jane kissed at the party. (Exhibit 27 [Dep. Ex. 35].)

          158.     The panelists did not discuss the inconsistency between Jane and John’s statements

   about kissing at the party. (Exhibit 14, Treff Dep. 45:9.)

          159.     The panelists dismissed the inconsistency as to Jane and John kissing as not

   relevant, despite having included these statements in the deliberation worksheet and in a draft of

   the hearing outcome letter. (Exhibit 27, [Dep. Ex. 35], IU0000001; Exhibit 31, IU0001838;

   Exhibit 14, Treff Dep. 47:2-17; Exhibit 18, Williams Dep. 87:20-88:14; Exhibit 17, Magee Dep.

   49:14-52:17.)

          160.     Panelist Magee testified that Jane holding John’s hand may indicate state of mind

   leading to up to sexual contact, but that it could also indicate drunkenness or mood. (Exhibit 17,

   Magee Dep. 54:12-18.)

          161.     Panelist Treff testified that she did not see any evidence that John actively sought

   consent. (Exhibit 14, Treff Dep. 63:23-25.)



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          162.     The panelists’ deliberation worksheet does not acknowledge and weigh the concern

   that Jane’s memory of giving consent may have been affected by her drunkenness. (Exhibit 35,

   IU0000001-8; Exhibit 30, draft letter IU0001854; Exhibit 18, Williams Dep. 77:1-78:14; 79:1-

   16.)

          163.     Jane’s hearing testimony was clear that she did not remember much about the

   sexual encounter. (Exhibit 39, Hearing Audio, IU00000033, 33:26–33:48 (Jane asked whether

   she remembered other people coming into the room and stating that she did not and that she “just

   remember[ed] nothing really”); IU00000033, 43:44–44:43 (Magee asks about other conversations

   with John, and Jane replies that she didn’t “really remember,” that she “did not think there was

   much conversation,” and that she was “so blacked out that [she couldn’t] really remember much

   of it.”); IU00000033, 50:23–51:19 (Magee prompting Jane that she may was becoming more

   conscious, and Jane agrees but states that it went “downhill” and that “time period was like no

   memory at all.”).)

          164.     The panelists found John’s statements to be inconsistent to the extent they

   contradicted Jane’s statements, even if neither statement was corroborated by other witnesses.

   (Exhibit 17, Magee Dep. 52:18-53:24.)

          165.     Panelist Williams challenged John to address that Jane said that John attempted to

   kiss her, but does not ask Jane the same question. (Exhibit 39, Hearing Audio, IU00000036,

   45:03–45:57.)

          166.     Panelist Williams question John about discrepancies in the testimony as to removal

   of clothing, when the only inconsistency was between John’s statement and Jane’s statement.

   (Exhibit 39, Hearing Audio, IU00000036, 1:22:52–1:23:22.)

          167.     The panelists disregarded inconsistencies in Jane’s statements. (Exhibit 14, Treff



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   Dep. 40:22-41:8; 42:15-24.)

          168.   In contrast, the panel focused on inconsistencies in John’s statements. (Exhibit 17,

   Magee Dep. 24:6-25:14.)

          169.   Both John and Jane stated initially that they were not upset by the photo, but the

   panel disregarded John’s explanation for this inconsistency and accepted Jane’s. (Exhibit 3 [Dep.

   Ex. 59], IU0001252-53; Exhibit 18, Williams Dep. 91:7-21 (“So she said what she needed to say

   in those moments.”); Exhibit 39, Audio Hearing, IU00000033, 34:48–35:06; Hearing,

   IU00000036, 32:52-34:07; 56:28-59:12); Exhibit 7, Hearing Panel Decision [Dkt. 1-6]; Exhibit

   30, draft hearing outcome letter, IU0001840-41.)

          170.   The panel relied on the photo to determine that Jane was non-responsive to John’s

   movements. (Exhibit 18, Williams Dep. 106:13-18, 107:10-108:6; Exhibit 32, e-mail regarding

   panel’s decision, IU0001834.)

          171.   The panelists relied on Jane’s lack of movement without considering whether John

   was making sexual movements at that time. (Exhibit 17, Magee Dep. 55:8-23; 56:15-19; Exhibit

   18, Williams Dep. 111:1-115:15; 118:5-16; Exhibit 26, Treff Affdvt. ¶10(f).)

          172.   The panel made the assumption that the sexual intercourse could not be consensual

   because it was painful. (Exhibit 14, Treff Dep. 61:17-23; Exhibit 26, Treff Affdvt., ¶10(b).)

          173.   The panel imposed its own interpretations on the meaning of the peace sign

   displayed by John in the photo. (Exhibit 18, Williams Dep. 91:3-6.)

          174.   The panel described the peace sign as symbolizing “conquest” in the deliberation

   worksheet, despite no witness having used the word “conquest.” (Exhibit 3, [Dep. Ex. 35],

   IU0000002; Exhibit 18, Williams Dep. 92:23-25.)

          175.   Zorn describes the photograph of John and Jane having sex as “John Doe’s badge



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   of honor,” even though no one ever used those words in the investigation or hearing. (Exhibit 33,

   Zorn Affidavit ¶11.)

          176.    The panel’s deliberation worksheet lists “pervasiveness of the sexual exploitation”

   as an aggravating factor. (Exhibit 3, [Dep. Ex. 35], IU0000007; Exhibit 31, draft hearing outcome

   letter, IU0001841.)

          177.    There was no evidence or witness statement suggesting that John gave permission

   for the photo to be shared on social media. (Exhibit 3 [Dep. Ex. 59], passim; Exhibit 39, Hearing

   Audio Recording, passim.)

          178.    The panel apparently reached the conclusion that is John had allowed the photo to

   be taken, he also impliedly authorized it to be shared on social media. (Exhibit 14, Treff Dep.

   55:2-7; Exhibit 18, Williams Dep. 96:1-19; Exhibit 31, draft of hearing outcome letter,

   IU0001841-42.)

          179.    Professor Zorn approved of this rationale. (Exhibit 33, Zorn Affdvt. ¶¶11–12

   (stating that the sanction was proportionate because of the photograph, and then listing

   “additional” factors as an afterthought).)

          180.    As a reason for the sanctions imposed, the initial draft of the hearing outcome letter

   stated that the photo was “posted, circulated, and discussed throughout the Greek community at

   Indiana University.” (Exhibit 30, IU0001854 at 3.)

          181.    The reference to the Greek community apparently came from Latosha Williams’

   notes. (Exhibit 31, IU0001842.)

          182.    Marjorie Treff, one of the panelists, commented on this point: “This might be an

   overstatement. How do we know it was ‘throughout the Greek community at IU?” It might have

   been limited to their particular frat group.’” (Exhibit 30, Treff comment to draft of hearing



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   outcome letter, p.4)

          183.     The entire investigation and hearing process exceeded the 60-day period set forth

   in the University’s policies. (Exhibit 3 [Dep. Ex. 59], IU0001188; Exhibit 7, Hearing Panel

   Decision; Exhibit 32, Williams e-mail acknowledging lateness, IU0001834; Exhibit 1, Doe

   Affdvt. ¶88.)

          184.     The panelists’ notes were returned to the Office of Student Conduct at the

   conclusion of their deliberation meeting on October 20, 2018, but before the outcome letter was

   finalized. (Exhibit 18, Williams Dep. 15:3-10; Exhibit 17, Magee Dep. 8:16-9:1.)

          185.     The file containing these notes was discarded by the University. (Exhibit 18,

   Williams Dep. 14:25-15:10, 103:13-17.)

          186.     The hearing outcome letter was drafted by Libby Spotts, the Associate Dean,

   Director, and Deputy Title IX Coordinator with the Office of Student Conduct at the University.

   (Exhibit 34, Spotts Affdvt. ¶18; Exhibit 43, Magee comments to draft outcome letter, IU0001825-

   26.)

          187.     The panelists exchanged notes and comments by e-mail once the draft was

   circulated. (Exhibit 30, IU0001854; Exhibit 31, IU0001838-43; Exhibit 32, IU0001834-35;

   Exhibit 43, IU0001825-26.)

          188.     Additionally, because they had already turned in their notes, the panelists did not

   have access to refer back to their notes during the process of editing the outcome letter. (Exhibit

   43, IU0001825-26; Exhibit 30, IU0001854; Exhibit 17, Magee Dep. 8:16-9:1.)

          189.     The panel’s decision letter was dated November 6, 2018. (Exhibit 7 [Dkt. 1-6],

   Hearing Panel Decision.)

          190.     John appealed the panel’s decision by letter dated November 10, 2018. (Exhibit



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   35, Notice of Appeal.)

          191.    John’s appeal argued that there were serious procedural errors and detailed the

   inconsistency of making him the complainant and the respondent for the same conduct. (Id., §III.)

          192.    John’s appeal argued that his sanction was grossly disproportionate. (Id., §IV.)

          193.    John’s appeal assert due process violations under the Federal and Indiana

   constitutions. (Id., §V.)

          194.    Zorn did not have access to recorded witness interviews, just the summaries

   prepared by the investigators. (Exhibit 13, Zorn Dep. 52:18-25.)

          195.    Doesn’t get audio of recordings of interviews—just gets written summaries.

   (Exhibit 13, Zorn Dep. 51:7-19.)

          196.    Zorn concluded that the photograph, and that the photo had been shared justified

   the harsh sanction in this case. (Exhibit 13, Zorn Dep. 62:7-10; 65:6-10.)

          197.    Zorn concluded that John implicitly authorized sharing of the photo. (Exhibit 13,

   Zorn Dep. 65:6-67:6; 66:2-5 (“Anybody that’s aware of social media understands that pictures that

   are being taken are not necessarily going to stay on a particular device on which the photo is being

   taken.”).”

          198.    Zorn relied on Jane’s positioning in the photo to indicate her lack of consent.

   (Exhibit 13, Zorn Dep. 67:7-68:19.)

          199.    Zorn also supported his conclusion based on Jane’s testimony that she did not know

   what was going on. (Exhibit 33, Zorn Affdvt., ¶12(a).)

          200.    Zorn acknowledges that Jane’s confusion could be an indication of her

   drunkenness. (Exhibit 13, Zorn Dep. 82:10-15, 21-23.)

          201.    Zorn does not understand the University’s definition of consent, stating it must be



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   “provided verbally.” (Exhibit 13, Zorn Dep.22:9).

          202.    Zorn firmly believes that an incapacitated person cannot give consent, but makes

   no accommodation, as required by the University’s policy, for a respondent who lacks knowledge

   that a complainant is incapacitated. (Exhibit 13, Zorn Dep. 82:20-83:7; 82:10-15, 21-23.)

          203.    Zorn did not review the panel training materials or hearing script in connection with

   his review. (Exhibit 13, Zorn Dep. 20:17-24; 28:6-12; 47:15-18; 51:7-19.)

          204.    Zorn agrees that when he is reviewing the procedure of a hearing and looking for a

   policy violation, considers whether the panel chair made the appropriate relevance determinations.

   (Exhibit 13, Zorn Dep. 24:23-25:9).

          205.    Professor Zorn was not aware of the Photo Investigations during his appellate

   review. (Exhibit 13, Zorn Dep. 55:8-12, 56:8-16.)

          206.    Zorn’s letter denying John’s appeal and confirming the four-year suspension is

   dated November 26, 2018. (Exhibit 36.)

          207.    The University’s four-year suspension of John Doe extends years beyond Jane’s

   likely graduation date. (Exhibit 1, Doe Affdvt. ¶93.)

          208.    John has suffered from depression, interrupted sleep, insomnia, fatigue, severe

   anxiety, social withdrawal, excessive sweat, weight gain, and a worsening of his diagnosed tic

   disorder since learning of the rape allegations against him in June, 2018. (Exhibit 1, Doe Affdvt.

   ¶¶97-101.)

          209.    These issues make it more difficult for John to live life as he did before June, 2018.

   (Exhibit 2, Doe Dep. 11:21-111:2.)

          210.    John is seeking professional treatment for these symptoms associated with his

   physical, mental, and emotional reaction to the University’s charges against him. (Exhibit 2, Doe



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   Dep. 111:3-6; 112:2-8.)

          211.      If the University’s suspension stands, it will delay or possibly ruin John’s career

   prosects. (Exhibit 1, Doe Affdvt. ¶¶ 102-109.)

          212.      John’s impression from the investigation process and structure of the hearing was

   that the panel had made a decision before they heard the case. (Exhibit 2, Doe Dep. 118:12-

   119:13.)

          213.      Other than the University’s charges against him, and a high school detention that

   was overturned, John has never been the subject of a disciplinary proceeding at the University or

   any other school. (Exhibit 1, Doe Affdvt. ¶110; Exhibit 2, Doe Dep. 6:8-13.)

          214.      Based on the University’s reports of sexual assault allegations from July 2017 to

   the present, 17 out of 33 males were ordered to attend a hearing after being investigated. In

   contrast, 0 out of 2 females proceeded to a hearing after being investigated. (Exhibit 37,

   IU00000705–707.)

          215.      The University’s Sexual Misconduct Policy requires an “[a]dequate, reliable, and

   impartial investigation.” (Exhibit 38 [Dkt. 1-12], Sexual Misconduct Policy, p.10.)

          216.      The University’s Sexual Misconduct Policy, Procedures for Responding to

   Incidents Involving Allegations of Student Sexual Misconduct provides for “fairness, dignity,

   privacy, and due process” to all parties involved. (Exhibit 38 [Dkt. 1-12], Sexual Misconduct

   Policy, p.10.)

          217.      The University’s Sexual Misconduct Policy requires the University to “provide a

   fair and impartial investigation and resolution for complaints.” (Exhibit 38 [Dkt. 1-12], Sexual

   Misconduct Policy, p.1.)

          218.      The University’s Sexual Misconduct Policy provides a right for parties to “be fully



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   informed of University policies and procedures.” (Exhibit 38 [Dkt. 1-12], Sexual Misconduct

   Policy, p.10.)

          219.      The University’s Sexual Misconduct Policy provides, “The University will

   promptly respond to all reports of sexual misconduct alleged against a University student,”

   (Procedures, Preamble), and will “notify the . . . student alleged to have engaged in sexual

   misconduct” if sexual misconduct proceedings are initiated.” (Exhibit 38 [Dkt. 1-12], Sexual

   Misconduct Policy, p.11.)

          220.      The University’s Sexual Misconduct Policy provides, “Throughout the process,

   the parties will have equal opportunities to present information.” (Exhibit 38 [Dkt. 1-12], Sexual

   Misconduct Policy, p.14.)

          221.      The University’s Sexual Misconduct Policy provides, “The Senior Student Affairs

   Administrator must render an [appeal] decision within 10 calendar days of receipt of the appeal.”

   (Procedures, ¶ 5.c.) (Exhibit 38 [Dkt. 1-12], Sexual Misconduct Policy, p.13.)

          222.      John also designates the factual statements contained in in Verified Complaint,

   ([Dkt. 1], ¶¶1-113.)




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                                                  Respectfully Submitted,




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                            CERTIFICATE OF FILING AND SERVICE

          I hereby certify that on January 4, 2019, the foregoing, including Exhibits 1-27, 29-38, and
   43, was filed electronically via the Court’s electronic filing system. I further certify that Exhibits
   28 and 39-42 were hand-filed on DVD. I further certify that all electronically filed documents
   were served ECF and the hand-filed exhibits were served by hand-delivery to the following
   counsel of record:

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